Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 1 of 15




               Exhibit ‘E’
DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                    Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 2 of 15




                                           UNITED STATES DISTRICT COURT
                                               DISTRICT OF COLUMBIA

               UNITED STATES OF AMERICA
                                                               No. 21-cr-399 (RDM)
                            Plaintiff,
               v.

               ROMAN STERLINGOV

                            Defendant.

                         SUMMARY OF QUALIFICATIONS AND EXPECTED TESTIMONY FOR
                                           J.W. VERRET



                     Mr. Sterlingov intends to call JOHN WALLACE “J.W.” VERRET JD, MPP, CPA/CFF, CFE,

            CVA (“Mr. Verret”) as an expert witness. His qualifications, along with review and analysis of


            relevant records, reports, facts, and evidence set forth the basis for his expected testimony.

                     Mr. Verret is an expert in crypto forensics, financial privacy, forensic accounting,

            financial forensics, banking regulation, and anti-money laundering. An Associate Professor of

            Law at the George Mason University Antonin Scalia School of Law, he teaches legal courses in

            forensic accounting, corporate law, securities law, and banking law/AML. He is a practicing

            attorney and works in internal accounting investigations and financial regulatory enforcement,

            the latter with an emphasis on digital currency projects.

                     Mr. Verret was a Visiting Professor at Stanford Law School, where he taught a course in

            financial regulation. He has a J.D. from Harvard Law School, a Masters in Public Policy from

            the Harvard Kennedy School with an emphasis in financial regulation, and a B.S. from Louisiana

            State University in Accounting. He holds a certificate from the Wharton Business School in the

            Economics of Blockchain. He is a Certified Public Accountant in the state of Virginia, is



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DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                    Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 3 of 15




            Certified in Financial Forensics (CFF) by the AICPA, is a Certified Fraud Examiner (CFE) and a

            Certified Valuation Analyst (CVA).

                     Mr. Verret serves on the Financial Accounting Standards Advisory Council, a group that

            advises the Financial Accounting Standards Board on the development of Generally Accepted

            Accounting Standards (GAAP) and where he recently advised on the development of a new

            accounting standard for cryptocurrency reporting by public companies.

                     He currently serves on the board of directors of the Zcash Foundation, a non-profit that

            funds research into the zero-knowledge proof cryptography that underlies the privacy enhanced

            cryptocurrency Zcash and that other cryptocurrencies like Ethereum and Monero use to preserve

            user financial privacy. He is a columnist on cryptocurrency regulation and privacy for

            CoinTelegraph.

                     In 2013 he led the first briefing for members of Congress on the operation of Bitcoin.

            From 2013-2015, he was a Chief Economist and Senior Counsel for the U.S. House Financial

            Services Committee, where he works on congressional oversight of the Federal Reserve,

            Treasury Department, AML/BSA compliance policy reform. While there he leads an

            investigation into insider trading at the Federal Reserve that results in the resignation of the

            President of the Federal Reserve Bank of Richmond. In his Senior Counsel role, he leads

            congressional oversight of the Treasury’s Department’s policy reforms to sanctions and money

            laundering and know your customer regulations regarding cryptocurrency. He has testified about

            financial and banking regulatory matters over a dozen times in the U.S. House of Representatives

            and the U.S. Senate. He is currently writing a book on cryptocurrency privacy and forensics for

            MIT Press.




                                                              2
DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                    Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 4 of 15




                     Mr. Verret bases his expert opinions upon his extensive experience in cryptocurrency,

            financial privacy, financial forensic investigations, and law. His training and experience with

            federal regulators, combined with his proficiency and practice in cryptocurrency forensics,

            financial privacy, cryptocurrency, financial forensics, financial forensic investigations,

            professional accounting, banking regulations, anti-money laundering, and academia more than

            qualify him to present detailed expert opinion regarding this case.

                     At the July 19, 2023, hearing on Motions in Limine and Daubert challenges, as well as at

            trial, the Defense expects Mr. Verret to testify regarding the following:



                 1. Mr. Verret will testify to how the evidence offered by the government is consistent with

                     Sterlingov being early to Bitcoin and using Bitcoin Fog for legitimate personal privacy

                     interests. He will explain why the Government’s evidence is not consistent with Mr.

                     Sterlingov running the Bitcoin Fog mixer.

                 2. Mr. Verret will testify to two key points related to the government's assertion that funds

                     transferred back to Mr. Sterlingov's KYC Kraken accounts from Bitcoin Fog were fees

                     generated by the operator of Bitcoin Fog. First, Mr. Verret will show that the Bitcoin Fog

                     fees were many times larger than the total crypto assets ever attributed to Sterlingov.

                     Second, Mr. Verret will explain that the government has shown no non-crypto assets

                     owned by Mr. Sterlingov, whose source is unaccounted for.

                 3. Mr. Verret will testify that the account balances in Mr. Sterlingov’s seized accounts show

                     less than 10% of the amount that someone running Bitcoin Fog would be expected to

                     have. Mr. Verret will testify that an objective investigator in a case like this would

                     typically use a "net worth analysis" and/or "net income analysis" to show a large



                                                               3
DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                    Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 5 of 15




                     magnitude of assets owned by a suspect that had no known income source (net of

                     expenses) or known assets (net of liabilities) to explain them. See e.g. Paul Eisenberg,

                     Application of the Net Worth Method In Forensic Accounting Investigations,

                     International Research Journal of Multidisciplinary Studies, 2019, available at

                     https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3324282#:~:text=Under%20the%20

                     net%20worth%20method,during%20the%20period%20of%20investigation. Mr. Verret

                     will rely upon his experience and knowledge as a Certified Fraud Examiner and explain

                     that while the Government has done in this type of anti-money laundering analysis in

                     prior crypto related cases, it failed to do so in this case.

                 4. Mr. Verret will testify to the pattern of transfers from what Chainalysis describes as the

                     "Bitcoin Fog Cluster" to accounts owned by Mr. Sterlingov, and how they do not show

                     any recognizable pattern that might in some way link Mr. Sterlingov the operation of

                     Bitcoin Fog. Mr. Verret will rely upon his training as a Certified Valuation Analyst and

                     experience as Chief Economist and Senior Counsel for the U.S. House Financial Services

                     Committee to show how the Government’s attributions appear to be just a random pattern

                     more in line with a regular Bitcoin investor using Bitcoin Fog to obtain some measure of

                     personal privacy.

                 5. Mr. Verret will display a chart of crypto prices since 2009 and present a narrative

                     description to demonstrate how little fiat money one would need to buy 1600 bitcoin in

                     the early years of Bitcoin.

                 6. Mr. Verret will explain how the creator of the Bitcoin Fog service displays an expert-

                     level knowledge of blockchain privacy concepts like anonymity set, transaction history,

                     and post-mix privacy. Mr. Verret will explain these concepts and how he teaches them to



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DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                      Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 6 of 15




                      his students at George Mason University. He will emphasize how someone with the

                      expertise that the creator of Bitcoin Fog has exhibited would not send the proceeds from

                      running a mixer back to their own KYC'd accounts. Mr. Verret will testify that a skilled

                      privacy programmer would be significantly likely to send any proceeds into account

                      logins purchasable on the TOR network sites and then swap them out or transfer them

                      from there. Mr. Verret will also testify that an alternative to that method would be to

                      trade the proceeds peer to peer to effectively obfuscate their source.

                 7. Mr. Verret will testify that because Mt. Gox was repeatedly hacked, there is a distinct

                      possibility that a third-party hacker may have used Sterlingov's Mt. Gox account the

                      purpose of obfuscating his own unlawful transactions.

                 8.   Mr. Verret will testify that privacy measures are regularly employed by users of

                      cryptocurrency and that efforts to maintain financial privacy are not, as the government

                      repeatedly suggests in their filings, something suspicious or illicit in and of itself.

                 9. Mr. Verret will testify that "wrench attacks" (assaults and kidnapping) against bitcoin

                      holders are a real threat to crypto users, in part because it is easier for a kidnapper or thief

                      to demand that the victim transfer large quantities of money in the low friction

                      environment of crypto self-custody relative to the higher friction environment of

                      withdrawing large quantities of cash out of a bank. See, as one example, Department of

                      Justice, U.S. Attorney’s Office, Southern District of New York, Press Release, “Two

                      Men Charged with Plan to Commit Home Invasion Robbery for Tens of Millions of

                      Dollars in Bitcoin,” https://www.justice.gov/usao-sdny/pr/two-men-charged-plan-

                      commit-home-invasion-robbery-tens-millions-dollars-bitcoin. Mr. Verret will testify that




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DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                    Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 7 of 15




                     privacy measures such as mixing services, are one way that crypto users prevent such

                     attacks.

                 10. Mr. Verret will testify that totalitarian regimes around the world have used blockchain

                     tracing to abuse human rights protestors.

                 11. Mr. Verret will testify that the Bitcoin Fog mixing service was an early tool to address

                     these legitimate privacy concerns and that according to the government's own estimates,

                     most of the activity in the Bitcoin Fog mixer was legitimate.

                 12. Mr. Verret will testify to the findings in multiple public reports, including those done by

                     Government-contractor Chainalysis, and testify that most transactions sent through

                     mixing services like Bitcoin Fog are done for legitimate privacy concerns and are not

                     illicit. Mr. Verret will describe how comparable analysis of BSA/AML regimes by

                     international financial regulatory bodies demonstrate that a comparable percentage of

                     illicit finance runs through traditional banking institutions and how simply using Bitcoin

                     Fog would not lead one to automatically suspect that using it was somehow illicit. See,

                     e.g., Chainalysis, Crypto Mixer Usage Reaches All Time Highs in 2022, available at

                     https://blog.chainalysis.com/reports/crypto-mixer-criminal-volume-

                     2022/#:~:text=The%20increase%20in%20illicit%20cryptocurrency,up%20from%2012%

                     25%20in%202021; Organization for Economic Development and Cooperation, Illicit

                     Financial Flows from Developing Countries: Measuring OECD Responses, available at

                     https://www.oecd.org/corruption/illicit_financial_flows_from_developing_countries.pdf;

                     Michel Camdessus, Managing Director of the International Monetary Fund (IMF),

                     address at the plenary meeting of the Financial Action Task Force (FATF), “Money

                     Laundering: The Importance of International Countermeasures,” February 10, 1998;



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DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                    Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 8 of 15




                     United Nations Office on Drugs and Crime (UNODC), Estimating Illicit Financial Flows

                     Resulting from Drug Trafficking and Other Transnational Organized Crimes, October

                     2011.

                 13. Mr. Verret will testify that attribution of property ownership is a vital element to financial

                     forensic investigations done in compliance with recognized standards. Mr. Verret will

                     rely upon his CFF and CFE designations, his experience as a fraud examiner, and his

                     review of the DOJ’s published best practice that direct employees of federal agencies

                     how to appropriately collect and process material in crypto financial forensic

                     investigations. See Michele R. Korver, C. Alden Pelker and Elisabeth Poteat, “Attribution

                     in Cryptocurrency Cases,” Department of Justice Journal of Law and Practice (February

                     2019) at 233, available at https://www.justice.gov/media/991181/dl?inline.

                 14. Mr. Verret will testify that the Government's own advice to US attorneys, as published by

                     the Department of Justice, recommends obtaining physical memorialization of private

                     keys in possession of the defendant to assign control of the assets and the public key that

                     is associated with that private key. See Michele R. Korver, C. Alden Pelker and Elisabeth

                     Poteat, “Attribution in Cryptocurrency Cases,” Department of Justice Journal of Law and

                     Practice (February 2019) at 233, available at

                     https://www.justice.gov/media/991181/dl?inline.

                 15. Mr. Verret will testify that tracing methods utilized by the Government and Chainalysis

                     threaten user privacy because they rely upon probabilistic determinations to attribute

                     cryptocurrency accounts to specific individuals.




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DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                    Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 9 of 15




                 16. Mr. Verret will testify that the tracing methodologies utilized by the Government and

                     Chainalysis are probabilistic, not determinative, and that they should only be used to

                     generate leads not to attribute conduct.

                 17. Mr. Verret will testify that the tracing methodologies utilized by the Government and

                     Chainalysis may be used to commence an investigation and generate leads but should not

                     substitute for empirical confirmation of traces. As part of this line of testimony, Mr.

                     Verret rely upon publicly available documents produced by Chainalysis and available at:

                     https://www.coindesk.com/business/2021/09/21/leaked-slides-show-how-chainalysis-

                     flags-crypto-suspects-for-cops/.

                 18. Mr. Verret will testify that the word “heuristic” is a synonymous with the words

                     “assumption” or "guess." He will emphasize that the heuristics employed by Chainalysis

                     in this investigation, such as the common ownership heuristic, and the peel chain

                     heuristic, are a novel approach in a nascent area of forensics, and that they have not been

                     empirically tested or peer-reviewed. As part of this line of testimony, Mr. Verret will rely

                     upon literature indicating that heuristics are probabilistic, not determinative. See

                     Stockinger, J. (2021). Analysis of decentralized mixing services in the greater bitcoin

                     ecosystem [Diploma Thesis, Technische Universität Wien]. reposiTUm.

                     https://doi.org/10.34726/hss.2021.87269. See also Greg Maxwell, “Coinjoin: Bitcoin

                     Privacy For The Real World,” Bitcoin Talk Forum, at

                     https://bitcointalk.org/index.php?topic=279249.0; Sarah Meiklejohn, Marjori Pomarole,

                     Grant Jordan, Kirill Levchenko, Damon McCoy, Geoffrey M. Voelker and Stefan

                     Savage, “A Fistful of Bitcoins: Characterizing Payments Among Men With No Names,”

                     Proceedings of the Internet Measurement Conference 2013; Harroon Yousaf, George



                                                                8
DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                   Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 10 of 15




                     Kappos & Sarah Meiklejohn, Tracing Transactions Across Cryptocurrency Ledgers,

                     available at https://arxiv.org/pdf/1810.12786.pdf; Matt Di Salvo, “Bitcoin’s privacy

                     problem–And What Cypherpunks are Doing to Solve It,” Decrypt, August 12, 2022,

                     available at https://decrypt.co/107376/bitcoin-privacy-problem-what-cypherpunks-are-

                     doing; See Sarah Meiklejohn and Caludio Orlandi, “Privacy-Enhancing Overlays in

                     Bitcoin,” Financial Cryptography and Data Security (Springer 2015) pp 127-141.

                     Available at https://link.springer.com/chapter/10.1007/978-3-662-48051-9_10; Rainer

                     Stutz, Johann Stockinger, Bernard Haselhofer, Pedro Morena-Sanchez, Matteo Maffei,

                     “Adoption and Actual Privacy of Decentralized Coinjoin implementations of Bitcoin,”

                     Arvix 2022, available at https://arxiv.org/abs/2109.10229.

                 19. Mr. Verret will testify that Sarah Meiklejohn, who is credited with inventing the methods

                     and assumptions relied upon by Chainalysis in its investigation into Bitcoin Fog, has

                     repeatedly emphasized the limitations of these techniques. See Andy Greenberg, Tracers

                     in the Dark: The Global Hunt for the Crime Lords of Cryptocurrency, Doubleday

                     (November 15, 2022). As part of this line of testimony, Mr. Verret will rely upon a

                     presentation by Sarah Meiklejohn available at:

                     https://www.youtube.com/watch?v=slZgOwXt2jM&t=7s.

                 20. Mr. Verret will testify that one simply way to break heuristics like the common

                     ownership heuristic on the Bitcoin blockchain is to use CoinJoin or PayJoin transactions.

                     These are transactions in which multiple inputs to a bitcoin transaction actually involve

                     different individuals, which is directly contrary to the assumption underlying the common

                     ownership heuristic employed by the Government and Chainalysis in their investigation

                     into Bitcoin Fog.



                                                              9
DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                   Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 11 of 15




                 21. Mr. Verret will testify that Chainalysis also uses these various heuristics

                     opportunistically. He will explain how Chainalysis uses some heuristics to make

                     assumptions, and when their assumptions do not obtain the result they are hoping to

                     obtain they then use even more flexible, unexplained or "black box" heuristics, like the

                     intelligence heuristic. Mr. Verret will emphasize that the approach taken by Chainalysis

                     in its investigation into Bitcoin Fog is not objective and has high risk of misattributing

                     ownership of blockchain assets. He will base this testimony on the Government's expert

                     reports, testimony, disclosures and discovery.

                 22. Mr. Verret will testify that Chainalysis’s application of probabilistic methodologies in

                     this case appears in his judgment to have been tailored to generate evidence that

                     improperly implicated a previously identified defendant.

                 23. Mr. Verret will testify that the heuristics employed by Chainalysis in its investigation into

                     Bitcoin rely on default assumptions that transfers on the blockchain are self-transfers

                     between the same person unless proven otherwise. Mr. Verret will emphasize that this is

                     a dangerous assumption to rely upon because it simply assumes attribution, when

                     attribution of property cannot be assumed in a forensic investigation, it must be

                     demonstrated.

                 24. Mr. Verret will testify that it would violate core tenets of forensic accounting and

                     financial forensics principles to use Chainalysis’s’ heuristic assumptions attribute

                     blockchain activity to a specific individual. He will explain that without something more,

                     like hard evidence on a server with a list of private keys associated with those addresses,

                     there is no way to attribute ownership or activity to a specific individual.




                                                              10
DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                   Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 12 of 15




                 25. Mr. Verret will testify that the heuristics cannot definitively prove ownership of

                     cryptocurrency. Mr. Verret will explain that heuristics are guesses, guesses based in part

                     on an assumption that most bitcoin transactions take place between public addresses

                     owned by the same individual. Definitive assessments of identity linking non-KYC

                     public keys with individuals based on these heuristics are inconsistent with the standards

                     of the AICPA (for CPA/CFF designations) and ASCFE (for CFE designation). See

                     AICPA Statement on Standards for Forensic Services, available at https://www.aicpa-

                     cima.com/resources/download/statement-on-standards-for-forensic-services; Association

                     of Certified Fraud Examiners, CFE Code of Professional Standards, available at

                     https://www.acfe.com/about-the-acfe/-

                     /media/E805D87A1E144558BF27A7F4B0B8317B.ashx

                 26. Mr. Verret will testify that in order to establish ownership by the Defendant at the end of

                     a chain of transactions the government alleges were all conducted by Mr. Sterlingov, the

                     Government would need proof that transfers from his KYC accounts were done so

                     pursuant to his instruction, and were not to public keys along the chain of transactions

                     that he did not own and control and that were instead owned and controlled by a third

                     party.

                 27. Mr. Verret will testify that there are multiple situations that could have been

                     misinterpreted by the Government and Chainalysis in their investigation into Bitcoin Fog.

                     Mr. Verret will explain that a reasonable explanation for the misattributions in the Bitcoin

                     Fog investigation may be that the Defendant transferred bitcoin to an individual in an

                     exchange, and that individual or another in a chain of individuals, was the ultimate

                     purchaser of the Clearnet domain. Mr. Verret will further explain that another reasonable



                                                              11
DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                   Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 13 of 15




                     explanation is that whoever hacked Mt. Gox also hacked the Defendant’s account and

                     used it to facilitate external transfers.

                 28. Mr. Verret will testify that attribution of asset ownership can be a difficult problem in

                     financial forensics generally. He will explain that forensic techniques are more settled in

                     traditional financial investigations than in the blockchain context. Mr. Verret will explain

                     that the extensive KYC measures implemented in traditional finance make it easier for

                     investigators to attribute custody and control over assets in ways that are not necessarily

                     applicable in the blockchain context. Mr. Verret will explain that despite recent efforts to

                     incorporate KYC protocols in the blockchain space, these developments are not yet

                     complete, and there are many ways users can avoid KYC protocols in blockchain finance.

                 29. Mr. Verret will testify that there is no way to definitively determine who controls a

                     blockchain asset because the KYC regime lags that of traditional finance. Mr. Verret will

                     explain the challenges associated with determining where a digital asset exists, who

                     possesses custodial control of a digital asset, and even whether a digital asset exists.

                 30. Mr. Verret will testify that the nature of the blockchain has fundamentally altered the

                     notion of property ownership itself, and that the nature of the blockchain makes it

                     difficult to confirm ownership or control over digital assets. Mr. Verret will explain how

                     he teaches his students that obtaining some physical representation of the seed phrase or

                     private key on a suspect’s hard drive is key to establishing an individual’s connection to

                     the public keys used to attribute ownership or control over digital assets. Mr. Verret will

                     further explain that even the DOJ’s own criminal practice journal emphasizes the

                     importance of identifying seed phrases or private keys associated with digital assets to

                     attribute custody or control. See Michele R. Korver, C. Alden Pelker and Elisabeth



                                                                 12
DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                   Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 14 of 15




                     Poteat, “Attribution in Cryptocurrency Cases,” Department of Justice Journal of Law and

                     Practice (February 2019) at 233, available at

                     https://www.justice.gov/media/991181/dl?inline.

                 31. Mr. Verret will testify that there is a high risk of misidentification when relying upon

                     heuristics in blockchain forensics. Mr. Verret will explain that the Government's

                     characterization of bitcoin transactions as "beta transactions" is not reasonable, and that it

                     is unlikely the identified transactions were in fact “beta transactions”. Mr. Verret will

                     explain that the evidence is consistent with these transactions being mundane transactions

                     that any user could have done. Mr. Verret will explain that the pattern of activity

                     identified by the Government as “beta transactions” could have simply been something as

                     simple as a user testing a new wallet, or a user on-boarding new users to a crypto

                     platform. Mr. Verret will emphasize that such mundane activity would appear identical to

                     the evidence purported by the Government to be “beta transactions”.

                 32. Mr. Verret will testify that there is not sufficient evidence in the record to determine the

                     amount of illicit funds flowing from TOR-based marketplaces to what the Government

                     purports is the Bitcoin Fog cluster. Mr. Verret will explain that there are legal products

                     offered on the darknet marketplaces, and that it would be inaccurate to propose that all

                     the funds flowing from TOR-based marketplaces constitute illicit funds. Mr. Verret will

                     explain that there are many legal products and services available for purchase on TOR-

                     based marketplaces that would not constitute illegal activity. Mr. Verret will testify that

                     the Government has wrongfully categorized all funds originating from TOR-based

                     marketplaces as illicit, and that the Government has failed to present a breakdown of




                                                               13
DocuSign Envelope ID: B101C981-FA99-4B21-A9F7-6648FFB7D6DB
                   Case 1:21-cr-00399-RDM Document 145-5 Filed 07/07/23 Page 15 of 15




                     which funds are related to illegal products and purposes and which funds are associated

                     with completely legal activity.

                 33. Mr. Verret will testify that this case has caused him to rethink how he teaches students

                     about blockchain privacy tools.




                      Witness Attestation

                      I, J.W. Verret, have reviewed and approve the contents of this
                      filing.




                                                                   7/7/2023
                      ____________________                          ______________

                      J.W. Verret                                   Date




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